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                                                                                    E-FILED
                                                 Wednesday, 03 November, 2021 02:09:24 PM
                                                               Clerk, U.S. District Court, ILCD

          IN THE UNITED STATES DISTRICT COURT
          FOR THE CENTRAL DISTRICT OF ILLINOIS
                  SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
          Plaintiff,                         )
                                             )
     v.                                      )     Case No. 19-cr-30005
                                             )
DERRICK PHILLIPS,                            )
                                             )
          Defendant.                         )

                               ORDER

SUE E. MYERSCOUGH, U.S. District Judge:

     This matter comes before the Court on the Report and

Recommendation of United States Magistrate Judge Tom Schanzle-

Haskins (d/e 52) on Defendant Derrick Phillips’s Motion to

Suppress Evidence (d/e 25). Magistrate Judge Schanzle-Haskins

recommends that this Court deny Defendant’s Motion to Suppress.

Defendant has timely filed Objections to the Report and

Recommendation. See d/e 55.

     A district judge reviews de novo any part of a magistrate

judge’s report and recommendation to which a specific written

objection has been made. Fed. R. Crim. P. 59(b); 28 U.S.C.

§ 636(b)(1). The Court has thoroughly reviewed Magistrate Judge


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Schanzle-Haskins’s Report and Recommendation and Defendant’s

Objection to the Report and Recommendation. For the reasons set

forth below, the Court OVERRULES Defendant’s objections (d/e

55), ACCEPTS and ADOPTS the Magistrate Judge’s Report and

Recommendation (d/e 52), and DENIES Defendant’s Motion to

Suppress (d/e 25).

                         I. BACKGROUND

     On February 5, 2019, a grand jury charged Defendant by way

of indictment with one count of possession with intent to distribute

of 100 grams or more of mixtures or substances containing a

detectable amount of heroin in violation of 21 U.S.C. §§ 841(a)(1)

and (b)(1)(B). See d/e 1. On April 24, 2020, Defendant filed the

Motion to Suppress now before the Court.

     In his Motion to Suppress, Defendant moves the Court to

suppress evidence acquired during a warrantless search of

Defendant’s vehicle. The Government filed a response opposing

Defendant’s motion on May 11, 2020. On August 12, 2021,

Magistrate Judge Schanzle-Haskins held an evidentiary hearing on

the Motion to Suppress, at which Defendant and two of the police

officers involved in the search testified. Magistrate Judge Schanzle-


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Haskins directed the parties to submit written briefs in lieu of

closing arguments at the evidentiary hearing. Defendant

subsequently filed a Supplemental Brief in Support of Defendant’s

Motion to Suppress Evidence (d/e 50) and the Government filed a

Post-Hearing Memorandum in Opposition of Motion to Suppress

(d/e 51).

     The Court adopts Judge Schanzle-Hankins’s Statement of

Facts. A summary of the relevant facts is set forth below.

     On October 4, 2017, Illinois State Trooper John Westbrook

was assigned to the West Central Illinois Task Force (Task Force).

He was parked in the parking lot of the Amtrak railroad station in

Quincy, Illinois. He was in plain clothes in an unmarked vehicle.

The Task Force had information that Defendant Phillips was

carrying heroin and was traveling on the evening train from

Chicago, Illinois, to Quincy, Illinois. Westbrook was given

descriptions of Defendant’s vehicle and Defendant’s clothing.

Westbrook was assigned to wait in the Amtrak parking lot and to

surveil Defendant upon Defendant’s arrival at the station. D/e 48,

pp. 6–8.




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     When the train from Chicago arrived at the Quincy station,

Defendant disembarked from the train. Westbrook saw Defendant

walk to a vehicle that matched the description provided and

watched Defendant drive out of the parking lot onto Wisman Lane,

a public roadway. Defendant was in a line of cars leaving the

parking lot. Westbrook observed that Defendant did not stop before

entering Wisman Lane. Defendant admitted at the evidentiary

hearing that he did not stop before he left the parking lot and

entered Wisman Lane. Id. at 7–9, 18–19, 29, 56–57.

     Westbrook contacted other officers with the Task Force by

radio or phone and told them that Defendant had committed a

traffic violation when he did not stop before leaving the parking lot.

Id., pp. 9–10. Once Westbrook reported that Defendant had

committed a traffic violation, Quincy Police Canine Officer Tyler

conducted a traffic stop of Defendant’s vehicle. Upon stopping

Defendant, Officer Tyler had his trained drug sniffing dog conduct a

free air sniff around Defendant’s vehicle. The dog alerted on the

vehicle, indicating an odor of narcotics. Members of the West

Central Task Force then searched Defendant’s vehicle and found

approximately 200 grams of heroin.


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     Defendant was arrested and taken into custody. Defendant

gave a recorded interview to law enforcement officials. Id., pp.

35–37. Defendant’s Motion to Suppress requests suppression of

both the heroin seized and Defendant’s statement to police.

                            II. ANALYSIS

     A district judge reviews de novo those portions of the Report

and Recommendation to which timely objections have been made.

Fed. R. Crim. P. 59(b)(3); 28 U.S.C. § 636(b)(1). The district judge

may “accept, reject, or modify the recommendation, receive further

evidence, or resubmit the matter to the magistrate with

instructions.” Fed. R. Crim. P. 59(b)(3). If only some portions of the

Report and Recommendation are objected to, the district judge

reviews those unobjected portions for clear error. Johnson v. Zema

Sys. Corp., 170 F.3d 734, 739 (7th Cir. 1999). Having reviewed the

hearing transcript, the Report and Recommendation, the parties’

motions and memoranda, and the applicable law, the Court finds

no clear error in the portions of Magistrate Judge Schanzle-

Haskins’s Report and Recommendation to which no objection has

been made.




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     The Fourth Amendment guarantees the “right of the people to

be secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures.” U.S. Const. amend. IV. A

traffic stop is considered a “seizure” for Fourth Amendment

purposes. United States v. Whren, 517 U.S. 806, 809–810 (1996).

Police may conduct a traffic stop if they have probable cause to

believe the driver committed a traffic violation. Id. at 810.

     Defendant’s primary objection to the Report and

Recommendation arises from a disagreement with Judge Schanzle-

Haskins’s interpretation of § 11-1205 of the Illinois Vehicle Code,

an Illinois statute which states that:

           The driver of a vehicle emerging from an alley,
           building, private road or driveway within an
           urban area shall stop such vehicle immediately
           prior to driving into the sidewalk area
           extending across such alley, building entrance,
           road or driveway, or in the event there is no
           sidewalk area, shall stop at the point nearest
           the street to be entered where the driver has a
           view of approaching traffic thereon, and shall
           yield the right-of-way to any pedestrian as may
           be necessary to avoid collision, and upon
           entering the roadway shall yield the right-of-
           way to all vehicles approaching on such
           roadway.

625 ILCS 5/11-1205.



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     Judge Schanzle-Haskins construed this statute to include an

“absolute” obligation to stop which is “not limited to situations in

which pedestrians or oncoming traffic are present.” D/e 52, p. 5.

Defendant disagrees and asserts that a vehicle is required to stop

prior to entering the roadway only if a pedestrian or an approaching

vehicle is present. See d/e 55, p. 4.

     The Court agrees with Judge Schanzle-Haskins’s construction

of 625 ILCS 5/11-1205. Defendant was required by law to stop

before driving onto Wisman Lane, regardless of whether any

pedestrians or oncoming vehicles were present. Since Defendant

has admitted that he did not stop before entering the roadway,

police had probable cause to conduct a traffic stop on Defendant.

Accordingly, the Court will not order the suppression of the

evidence resulting from the challenged traffic stop.

     Section 11-1205 of the Illinois Vehicle Code consists of a

single long sentence which includes a number of nested clauses.

The first 18 words of the section describe a “driver of a vehicle

emerging from an alley, building, private road or driveway within an

urban area.” Defendant concedes that he was such a driver. The

next 51 words require that a driver “shall stop such vehicle


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immediately prior to driving into the sidewalk area extending across

such alley, building entrance, road or driveway, or in the event

there is no sidewalk area, shall stop at the point nearest the street

to be entered where the driver has a view of approaching traffic

thereon . . . .” In other words, § 11-1205 requires that every driver

do one of two things: either (1) stop before reaching the sidewalk in

front of the roadway, or (2) stop directly before entering the

roadway. Both (1) and (2) require the driver to “stop” before

entering the roadway, and Defendant Phillips admits that he did not

stop. Because Defendant Phillips did not satisfy either

requirement, it is immaterial which of the two requirements applied

to him. For the purpose of deciding Defendant’s Motion to

Suppress, therefore, the first 69 words of § 11-1205 can be

simplified to read: “the driver shall stop before entering the

roadway.”

     With this simplification, § 11-1205 reads: “[The driver shall

stop before entering the roadway], and shall yield the right-of-way

to any pedestrian as may be necessary to avoid collision, and upon

entering the roadway shall yield the right-of-way to all vehicles

approaching on such roadway.” The word “and” appears twice in


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this sentence, and in each instance “and” functions conjunctively,

imposing additional requirements on the driver. Section 11-1205

always requires a driver to stop before entering the roadway, and

sometimes additionally requires that the driver yield the

right-of-way to an oncoming pedestrian or vehicle. This means that

Defendant Phillips was required to stop regardless of the presence

or absence of pedestrians or oncoming vehicles. Defendant’s

objection to Judge Schanzle-Haskins’s construction of § 11-1205 is,

therefore, overruled, as are the related objections in ¶¶ 9–13 of

Defendant’s Amended Objection. See d/e 55. The Court construes

all of Defendant’s objections, including the objection in paragraph

13, as depending on Defendant’s argument that he did not violate

625 ILCS 5/11-1205. Because Defendant did violate § 11-1205, his

objections are overruled.

                            III. CONCLUSION

     It is, therefore, ORDERED:

     (1)   The Report and Recommendation of United States

           Magistrate Judge Tom Schanzle-Haskins (d/e 52) is

           ACCEPTED and ADOPTED.




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    (2)   Defendant’s Objection to the Magistrate Judge’s

          Report and Recommendation (d/e 55) is

          OVERRULED.

    (3)   Defendant Derrick Phillips’s Motion to Suppress

          Evidence (d/e 25) is DENIED.



ENTER: November 2, 2021


                               /s/ Sue E. Myerscough
                               SUE E. MYERSCOUGH
                               UNITED STATES DISTRICT JUDGE




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